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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                                LAFAYETTE DIVISION

 THE STATE OF LOUISIANA                          *       CIVIL ACTION NO.: 6:24-cv-1422
                                                 *
 VERSUS                                          *       JUDGE DAVID C. JOSEPH
                                                 *
 ALEJANDRO MAYORKAS,                             *       MAG. JUDGE DAVID J. AYO
 SECRETARY OF THE U.S.                           *
 DEPARTMENT OF HOMELAND                          *
 SECURITY IN HIS OFFICIAL                        *
 CAPACITY, ET AL                                 *

****************************************************************


                       GEO’S WITNESS LIST AND EXHIBIT LIST

       NOW INTO COURT, through undersigned counsel, comes the Defendant, The GEO

Group, Inc., who submits the following Witness and Exhibit List in connection with the

Preliminary Injunction Hearing in this matter:

                                       WITNESS LIST

       1. David Tackett
          The GEO Group, Inc.
          Regional Health Services Manager - Central
          3843 Stagg Avenue
          Basile, Louisiana 70515

       2. Dr. Chad Heinen, M.D.
          The GEO Group, Inc.
          Physician
          South Louisiana ICE Processing Center
          3843 Stagg Avenue
          Basile, Louisiana 70515

       3. Helen Grimes
          The GEO Group, Inc.
          Facility Administrator
          South Louisiana ICE Processing Center
          3843 Stagg Avenue
          Basile, Louisiana 70515

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      4. Carissa Toups, DC, BS, MHA
         The GEO Group, Inc.
         Health Services Administrator
         South Louisiana ICE Processing Center
         3843 Stagg Avenue
         Basile, Louisiana 70515

                                      EXHIBIT LIST

      1.    A copy of The GEO Group, Inc.’s Correctional Health Services Number 528-A,
            Title: Tuberculosis Prevention and Management, Inmates/Detainees/Residents,
            Chapter: Infection Control effective 10/01/2020.

            This document contains confidential and proprietary information. GEO will be
            filing a request that this exhibit be sealed and produced to parties for attorneys’
            eyes only.

      2.    A copy of The GEO Group, Inc.’s Clinical Practice Guidelines: Management of
            Tuberculosis, May 2017.

            This document contains confidential and proprietary information. GEO will be
            filing a request that this exhibit be sealed and produced to parties for attorneys’
            eyes only.

      3.    A copy of SLIPC’s TB Signs/Symptoms Checklist
                                                   Respectfully Submitted,

                                                   MAHTOOK & LAFLEUR, L.L.C.


                                                      /s/Kay A. Theunissen
                                                   ROBERT A. MAHTOOK, JR., #17034
                                                   KAY A. THEUNISSEN, #17448
                                                   KALISTE JOSEPH SALOOM, IV, #35996
                                                   CHASE A. WOESSNER #40211
                                                   600 Jefferson Street, Suite 1000 (70501)
                                                   Post Office Box 3089
                                                   Lafayette, Louisiana 70502-3089
                                                   TEL: (337) 266-2189
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                                                   Email: rmahtook@mandllaw.com
                                                   Email: ktheunissen@mandllaw.com
                                                   Email: jsaloom@mandllaw.com
                                                   Email: cwoessner@mandllaw.com
                                                   Attorneys for: The GEO Group, Inc.

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                                   CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that a copy of the foregoing has this date been served on all counsel

of record in this proceeding by:

       ( ) Hand Delivery                    ( ) Prepaid U.S. Mail

       ( ) Facsimile                        ( ) Federal Express

       ( ) Electronic Mail                  ( X ) CM/ECF Court Filing System

       Lafayette, Louisiana this 25th day of October 2024



                                                    /s/ Kay A. Theunissen
                                                   KAY A. THEUNISSEN




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